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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF OKLAHOMA

EVERETT HOUCK,               )
                             )
             Plaintiff,      )                             NO. CIV-05-1246-HE
                             )
OKLAHOMA CITY PUBLIC SCHOOLS )
ET AL.,                      )
                             )
             Defendants.     )

                                           ORDER

       Plaintiff Everett Houck filed this action pro se against the Independent School District

No. 89 of Oklahoma County, Oklahoma (“school district” or “district”), School

Superintendent Bob Moore, school district employees Tim Bailey and Linda Scott, the

Oklahoma City American Federation of Teachers (“AFT”) and Ed Allen. The defendants

have moved to dismiss the complaint pursuant to Fed.R.Civ.P. 12(b)(1) and (6), asserting that

the court lacks subject matter jurisdiction and that the complaint fails to state a claim upon

which relief may be granted.

       The defendants contend the court lacks jurisdiction as the complaint does not allege

diversity of citizenship jurisdiction or a federal question. In his response to the motions to

dismiss, the plaintiff asserts that his action pertains to a complaint he filed with the National

Labor Relations Board and consists principally of the school district revoking “comp time”

he was given in lieu of overtime. He states that when he tried to pursue his claims in state

court he was told it was a “federal matter.”

       When reviewing a Fed.R.Civ.P. 12(b)(1) motion to dismiss for lack of subject matter

jurisdiction that constitutes a facial attack on the complaint’s allegations, the court accepts
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the allegations in the complaint as true. Holt v. United States, 46 F.3d 1000, 1002 (10th Cir.

1995). If the motion challenges the facts upon which subject matter jurisdiction depends,

the court may not presume the truthfulness of the complaint’s factual allegations, but has

discretion to allow and consider affidavits and other documents and to conduct a limited

evidentiary hearing to resolve the disputed jurisdictional facts.         Id. at 1003. When

considering a Rule 12(b)(6) motion, all well-pleaded factual allegations in the complaint are

accepted as true and viewed in the light most favorable to the nonmoving party. Clark v.

State Farm Mut. Auto. Ins. Co., 319 F.3d 1234, 1240 (10th Cir. 2003).

       In his complaint the plaintiff alleges a dispute regarding his pay for the 2002-2003

school year. He asserts he has been unable to clarify his pay with the school district’s payroll

department and claims the district took back worker’s compensation leave for which he was

previously paid. He also alleges that his applications for short and long term disability have

been unanswered and that he has not been notified of job openings for which he is qualified

because he was on work restrictions at the time he was fired. The plaintiff seeks a job, an

accounting of his pay, and disability payments.

       Liberally construed, because of the plaintiff’s pro se status, the complaint alleges

breach of contract claims against the school board and the AFT1 and a worker’s

compensation retaliation claim and/or a claim under the Americans with Disabilities Act

(“ADA”), 42 U.S.C. §§ 12101-12213. As the defendants note, the only basis for federal


       1
         As for the AFT, the court has interpreted the complaint as asserting that the union was
nonresponsive to the plaintiff’s request for assistance with his payroll dispute with the school
district and his disability claims.

                                               2
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jurisdiction alleged in the complaint consists of the plaintiff’s ADA claim.2 They contend,

however, that because the plaintiff failed to exhaust his administrative remedies with respect

to his disability claim, he cannot rely on it to establish jurisdiction. While the defendants

admit the plaintiff filed a charge with the Equal Employment Opportunity Commission

(“EEOC”) alleging he was being denied recall because of a medical impairment,3 he did not,

they assert, file suit within 90 days of his receipt of a right to sue letter. Attached to the

school district’s motion is the notice mailed by the EEOC on March 30, 2004 informing the

plaintiff of his right to file a lawsuit based on the charge within 90 days.

       The ADA requires a plaintiff to file an action within ninety days of the issuance of a

right to sue letter. See 42 U.S.C. §§ 12117(a);4 2000e-5(f)(1). “Compliance with the filing

requirements of Title VII is not a jurisdictional prerequisite, rather it is a condition precedent

to suit that functions like a statute of limitations and is subject to waiver, estoppel, and

equitable tolling.” Million v. Frank, 47 F.3d 385, 389 (10th Cir. 1995). Therefore, a motion

seeking dismissal of an ADA claim for untimely filing is considered under Fed.R.Civ.P.

12(b)(6), rather than Rule 12(b)(1). Barrett v. Rumsfeld, 2005 WL 3196750, at *2 (Nov. 30,

2005). But see Calvert v. Roadway Express, Inc., 2002 WL 234767, at * 1-2 (10th Cir. Feb.




       2
        AFT has submitted evidence demonstrating the parties are not diverse. AFT’s motion to
dismiss, Exhibit 1.
       3
        The plaintiff filed a charge of discrimination asserting both disability and age
discrimination claims. School district’s motion to dismiss, Exhibit 2.
       4
        Section 12117(a) of Title 42, U.S.C., adopts Title VII’s filing deadline for ADA claims.

                                                3
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19, 2002).5 Assuming the plaintiff has alleged a claim under the ADA in his complaint, he

is granted ten (10) days within which to file a response brief that provides the court with a

basis for concluding his lawsuit, filed more than a year after the right to sue notice was

mailed, is timely. If the plaintiff challenges (1) the authenticity of the right to sue notice

attached to the school district’s motion to dismiss or (2) the assertion that diversity

jurisdiction does not exist because the parties are all citizens of the State of Oklahoma, he

is directed to do so in his supplemental response brief.

       In his response to the defendants’ motions, the plaintiff refers to a complaint he filed

with the National Labor Relations Board. That claim is not, however, referenced in the

complaint filed in this court. If it is plaintiff’s intent to pursue such a claim here, the plaintiff

may, within ten (10) days, file an amended complaint that includes it. Otherwise, the court

will decide, upon receipt of the plaintiff’s supplemental brief, whether the plaintiff’s ADA

claim is timely and whether it has subject matter jurisdiction over this litigation. If

jurisdiction exists, the court will then consider the defendants’ alternative argument that the

complaint fails to state a claim against them.




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        Barrett and Calvert are cited for persuasive value only under 10th Cir. R. 36.3(B).


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IT IS SO ORDERED.

Dated this 12th day of January, 2006.




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